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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


LUOMA ENTERPRISES OF DULUTH, INC.,

              Plaintiff,                                Case No. 22-cv-00714 (WMW-LIB)

v.

THE HOME DEPOT, INC.; HOME DEPOT
U.S.A., INC.; TRACTOR SUPPLY CO.; ACE
HARDWARE CORP.; MENARD, INC.;
GULLANDER HARDWARE CO.; UNITED
HARDWARE DISTRIBUTING CO.; CVS
PHARMACY, INC.; CVS HEALTH CORP.;
AMAZON.COM, INC.; and EBAY, INC.,

              Defendants.


     STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

        Pursuant to Fed. R. Civ. P. 6(b), Plaintiff Luoma Enterprises of Duluth, Inc.

(“Plaintiff”) and Defendants, The Home Depot, Inc., Home Depot U.S.A., Inc., Tractor

Supply Co., Amazon.com, Inc., Menard, Inc., United Hardware Distributing Co., Gullander

Hardware Co., CVS Pharmacy, Inc., CVS Health Corp., and eBay, Inc. (collectively,

“Parties”) hereby stipulate to a 45-day extension of time for the referenced defendants to

answer or otherwise respond to Plaintiff’s Complaint.

        Plaintiff filed the Complaint on March 18, 2022. (Doc. 1.) On March 24, 2022,

Plaintiff sent waiver of the service of summons forms to each defendant, making a

response to the Complaint due on or before May 23, 2022. Each defendant in the above-

captioned matter executed and returned a waiver form. (Docs. 8-18.)



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       The Parties are engaged in settlement discussions to explore potential early

resolution of this matter and seek additional time to consider their positions. Accordingly,

the Parties submit that there is good cause for the Court to grant the requested extension of

time for the undersigned defendants to answer or otherwise respond to the Complaint from

May 23, 2022 to July 7, 2022.


                                   Respectfully submitted,


Dated: May 18, 2022                /s/ Nicholas S. Kuhlmann
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                                   Inc.

Dated: May 18, 2022               /s/ Michael J. Feigin
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                                  Attorneys for Defendants The Home Depot, Inc. and
                                  Home Depot U.S.A., Inc.




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Dated: May 18, 2022         /s/ George Moustakas
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Dated: May 18, 2022         /s/ Jeanne Gills
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